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          UNITED STATES DISTRICT COURT
                NORTHERN DISTRICT OF FLORIDA
                        PANAMA CITY DIVISION

  UNITED STATES OF AMERICA,

                 Plaintiff,

  v.                                   Case No.5:12cr5-MW/CJK

  TOMMY CHIN VAN DUONG,

              Defendant.
  __________________________/

          ORDER DENYING MOTION TO VACATE
        OR SET ASIDE CONVICTION AND SENTENCE

        Defendant Tommy Chin Van Duong moves to vacate or set

  aside his conviction and sentence under 28 U.S.C. § 2255. The mag-

  istrate judge concluded that Defendant had not raised any issue

  requiring an evidentiary hearing and recommended that this

  Court deny the § 2255 motion and not issue a certificate of appeal-

  ability. ECF No. 834. This Court has reviewed Defendant’s objec-

  tions de novo and overrules them. This order adopts the report and

  recommendation and denies Defendant’s § 2255 motion.

        In his verified motion, Defendant says that his lawyer told

  him that he would receive a sentence lower than the mandatary




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  minimum term of 20 years of imprisonment. See ECF No. 611. De-

  fendant asserts that his guilty plea was not knowing and voluntary

  and he was deprived of his right to effective assistance of counsel.

  Id. The Government responded with, among other things, an affi-

  davit from Defendant’s lawyer, Mr. Shepard, in which Mr. Shepard

  swears that he advised Defendant about the mandatory minimum

  sentence. ECF No. 624. So there is a factual dispute regarding

  what Mr. Shepard told Defendant about his possible sentence. But

  it makes no difference.

        At the change-of-plea hearing, Mr. Shepard stated twice that

  he had advised Defendant that “he’s looking at—that the penalties

  are between 20 and life.” ECF No. 540, at 2. More importantly,

  before Defendant entered his plea the district judge specifically ad-

  vised Defendant that Count 1 carried a 20 year mandatory mini-

  mum term of imprisonment, and Count 15 carried a 10-year man-

  datory minimum sentence. ECF No. 540, at 11. True, the district

  judge at first asked Defendant only if he understood the maximum

  possible sentence; the district judge did not specifically ask De-

  fendant if Defendant understood the minimum mandatory sen-

  tence. Id. But then Defendant confirmed on the record and under

  oath that he understood the range of the sentences he faced. Id.


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  The Government pointed this out in its response. ECF No. 624, at

  13. Defendant has not asserted, with evidence or otherwise, that

  he failed to understand the district judge’s explanation of the ap-

  plicable mandatory minimum sentences, which were explained in

  detail at the change-of-plea hearing.

        In his § 2255 motion, Defendant asserts that Mr. Shepard

  gave him the presentence investigation report (“PSR”) but did not

  review the contents of the PSR with him or tell him that he could

  challenge incorrect factual assertions in the PSR. Defendant says

  that he “noticed several errors within the PSR.” But Defendant

  does not say what these alleged errors might be. Defendant objects

  to the report and recommendation, asserting that he did not have

  an opportunity to review the draft PSR. But, again, he does not say

  how this prejudiced him. And paragraphs 152 and 153 of the draft

  and final PSRs are identical:

        152. Statutory Provisions: The minimum term of
        imprisonment on Count 1 is 20 years and the maxi-
        mum enhanced term is life. 21 U.S.C. § 841(b)(1)(A).
        The minimum term of imprisonment on Count 15 is 10




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        years and the maximum enhanced term is life. 21
        U.S.C. § 841(b)(1)(B).

        153. Guideline Provisions: Based upon a total of-
        fense level of 29 and a criminal history category of IV,
        the guideline imprisonment range is 121 - 151 months.
        However, due to the mandatory minimum term of 240
        months required by statute, the defendant’s guideline
        range becomes restricted to 240 months.

  ECF No. 417 ¶¶ 152–153; ECF No. 438 ¶¶ 152–153. Defendant’s

  suggestion that the draft PSR “did not fully articulate the guide-

  line range” and final PSR did not “articulate a guideline range” is

  plainly contradicted by the record. In the end, as to the PSRs, De-

  fendant has only put forward bare, conclusory allegations, which

  are mostly contradicted by the record. These are insufficient to es-

  tablish ineffective assistance of counsel.

        Defendant has not established, under the undisputed facts,

  that but for his lawyer’s allegedly deficient performance the out-

  come of the proceeding would have been different; that he would

  not have pled guilty and received the 20-year sentence.

        Defendant further objects to the magistrate judge’s recom-

  mendation to deny a certificate of appealability. ECF No. 835, at

  2. With the other objections addressed and overruled, this Court




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  agrees that there is no substantial showing of the denial of a con-

  stitutional right. See 28 U.S.C. § 2253(c)(2).

        For these reasons and those set out in the report and recom-

  mendation,

        IT IS ORDERED:

        1. The report and recommendation, ECF No. 834, is AC-

           CEPTED and ADOPTED as this Court’s further opin-

           ion.

        2. Defendant’s motion to vacate or set aside his conviction

           and sentence, ECF No. 611, is DENIED.

        3. Defendant is DENIED a certificate of appealability.

        4. The Clerk must close the file.

        SO ORDERED on February 1, 2016.

                                 s/Mark E. Walker          ____
                                 United States District Judge




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